                           Case 18-21134-jra     Doc 44      Filed 12/04/18       Page 1 of 1


                                  UNITED STATES BANKRUPTCY COURT
                                           Northern District of Indiana
                                               Hammond Division
In Re: Debtor(s) (name(s) and address)                    )
Martin Gabriel Sendejas                                   )
xxx−xx−7719                                               )
4326 Baltimore Ave                                        ) Case Number: 18−21134−jra
Hammond, IN 46327                                         )
                                                          )
Brenda Veronyka Sendejas                                  )
fka Brenda Origel, fka Brenda Martinez                    )
xxx−xx−3113                                               )
4326 Baltimore Ave                                        )
Hammond, IN 46327                                         ) Chapter: 7
                                                          )
                                                          )
                                                          )
                                                          )
                                                          )
                                                          )



                                           ORDER AND NOTICE

  NOTICE IS HEREBY GIVEN that on November 6, 2018 , Trustee, Kenneth Manning filed Application to
Employ BK Global Real Estate Services . It is therefore,

   ORDERED, and Notice is hereby given, that objections to the above matter, or any requests for a hearing
thereon, if any, must be filed in writing with the Clerk of this Court, and by producing a copy thereof to the Movant
or Objectant on or before December 18, 2018 . In the event any such objection or request for hearing is filed, the
Court will set the same down for hearing at a later date upon further notice. And it is further

   ORDERED, and Notice is hereby given, that absent any objections or requests for hearing, the Court may enter
an order relating to the above matter, without further notice and hearing.

   A copy of the above is available in the Office of the Bankruptcy Clerk, 5400 Federal Plaza, Hammond, Indiana,
46320.


    Dated: December 4, 2018 .


                                                                         James R. Ahler
                                                                         ______________________________________
                                                                         Judge, United States Bankruptcy Court



                                                                                              Document No. 44 − 38
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Rev. 10/02/98
